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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


JAMES SZEGLOWSKI and
BARBARA SZEGLOWSKI,

         Plaintiffs,

v.                                                   CASE NO.:

MEDICREDIT, INC.

         Defendant.

_________________________________________/

                                   NOTICE OF REMOVAL

         Defendant Medicredit, Inc. (“Medicredit”) timely files this Notice of Removal pursuant

to 28 U.S.C. §§ 1331, 1441, and 1446, removing this action from the County Court of the Sixth

Judicial Circuit, in and for Pinellas County for the State of Florida, to the United States District

Court for the Middle District of Florida, Tampa Division, and in support of this Notice, states as

follows:

         1.      On January 15, 2018, Plaintiffs James Szeglowski and Barbara Szeglowski

(collectively, “Plaintiffs”) filed their Complaint against Medicredit in the County Court of the

Sixth Judicial Circuit, in and for Pinellas County, Florida, Case No. 18000322SC (the “State

Court Action”). The Complaint contains claims against Medicredit for violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”) and the Florida

Consumer Collection Practices Act, § 559.55, et seq. (the “FCCPA”).




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       2.      Pursuant to 28 U.S.C. § 1446(a), Medicredit attaches to this Notice a copy of all

pleadings, orders and other papers or exhibits of every kind currently on file in the State Court

Action. See Exhibit A, attached hereto.

       3.      Plaintiffs served Medicredit with the summons in the State Court Action on

January 23, 2018. Accordingly, Medicredit timely files this Notice within the 30-day limit

established by 28 U.S.C. § 1446(b)(1).        See, e.g., Murphy Brothers, Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 355 (1999) (noting that the removal time frame is triggered by

receipt of formal service, not receipt of complaint.).

       4.      The United States District Court for the Middle District of Florida has original

jurisdiction over this matter under 28 U.S.C. § 1331 because the claims alleging a violation of

the FDCPA implicate this Court’s federal question jurisdiction. See Ex. A, Complaint, at ¶¶ 2,

16-21. Further, the claims alleging a violation of the FCCPA against Medicredit implicate this

Court’s supplemental jurisdiction because Plaintiffs’ FCCPA claims form part of the same case

or controversy as their FDCPA claim. Id. at ¶¶ 2, 22-29.

       5.      Removal to the United States District Court for the Middle District of Florida is

proper under 28 U.S.C. § 1441(a), which provides that any civil action brought in a County

and/or State Court where the District Courts of the United States have original jurisdiction is

removable to the district of the United States District Court embracing the place where such

action is pending.

       6.      Venue is proper in the Tampa Division of this Court because this action is being

removed from the County Court of the Sixth Judicial Circuit, in and for Pinellas County for the

State of Florida, and the acts complained of in Plaintiffs’ Complaint are alleged to have occurred

in Pinellas County, Florida. Id. at ¶¶ 4-6.



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        7.     In light of the foregoing, this Court has subject matter jurisdiction over this

action, and this case is properly removed to this Court.

        8.     Medicredit has filed a Notice of Filing Notice of Removal with the State Court

and, upon filing this Notice, shall promptly provide written notice of its Notice of Removal to all

parties in the State Court Action. See Exhibit B, attached hereto.

        9.     Medicredit is the only defendant named in the Complaint and thus, need not

confer or obtain consent from any additional parties in order to properly effectual removal of this

case.

        WHEREFORE, Defendant Medicredit, Inc. gives notice that the above-entitled action is

removed and transferred from County Court of the Sixth Judicial Circuit, in and for Pinellas

County, Florida, to the United States District Court for the Middle District of Florida.

Dated: February 13, 2018.                             Respectfully submitted,

                                                      /s/ Lara J. Peppard______________
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                                                      Attorneys for Defendant Medicredit, Inc.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of February, 2018, I filed the foregoing with

the Clerk of Court and that a true and correct copy of the foregoing has been sent via electronic

mail to:

              Jon P. Dubbeld, Esq.
              Berkowitz & Myer
              4900 Central Avenue
              St. Petersburg, FL 33707
              jon@berkmyer.com
              Attorneys for Plaintiffs

                                            /s/ Lara J. Peppard
                                            Attorney




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